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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA

        v.
                                                        Criminal No.: 16-CR-10343-7-ADB
JOHN N. KAPOOR,

        Defendant.


                     NOTICE OF WITHDRAWAL OF APPEARANCE

       Please take notice that pursuant to Local Rule 83.5.2(c)(1), Alexandra M. Walsh hereby

withdraws her appearance as an attorney of record for John N. Kapoor in the above-captioned

matter. Dr. Kapoor will continue to be represented in these proceedings by current counsel of

record from Wilkinson Walsh LLP.


Dated: November 2, 2020                         Respectfully submitted,




                                                Alexandra M. Walsh (admitted pro hac vice)
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                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document will be served on all counsel of record
through the ECF system.


                                                    /s/ Kosta S. Stojilkovic
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